              Case: 23-35294, 05/01/2023,
       Case 1:23-cv-03026-TOR             ID: 12705955,
                                 ECF No. 116              DktEntry:
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                                       Office of the Clerk
                      United States Court of Appeals for the Ninth Circuit
                                     Post Office Box 193939
                              San Francisco, California 94119-3939
                                          415-355-8000
Molly C. Dwyer
Clerk of Court                            May 01, 2023


       No.:              23-35294
       D.C. No.:         1:23-cv-03026-TOR
       Short Title:      State of Washington, et al v. FDA, et al


       Dear Appellants/Counsel

       A copy of your notice of appeal/petition has been received in the Clerk's office of
       the United States Court of Appeals for the Ninth Circuit. The U.S. Court of
       Appeals docket number shown above has been assigned to this case. You must
       indicate this Court of Appeals docket number whenever you communicate with
       this court regarding this case.

       Motions filed along with the notice of appeal in the district court are not
       automatically transferred to this court for filing. Any motions seeking relief from
       this court must be separately filed in this court's docket.

       Please furnish this docket number immediately to the court reporter if you place an
       order, or have placed an order, for portions of the trial transcripts. The court
       reporter will need this docket number when communicating with this court.

       The due dates for filing the parties' briefs and otherwise perfecting the appeal
       have been set by the enclosed "Time Schedule Order," pursuant to applicable
       FRAP rules. These dates can be extended only by court order. Failure of the
       appellant to comply with the time schedule order will result in automatic
       dismissal of the appeal. 9th Cir. R. 42-1.
       Case: 23-35294, 05/01/2023,
Case 1:23-cv-03026-TOR             ID: 12705955,
                          ECF No. 116              DktEntry:
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                  UNITED STATES COURT OF APPEALS
                                                                    FILED
                          FOR THE NINTH CIRCUIT
                                                                   MAY 01 2023
                                                                   MOLLY C. DWYER, CLERK
                                                                    U.S. COURT OF APPEALS




STATE OF WASHINGTON; STATE                    No. 23-35294
OF OREGON; STATE OF ARIZONA;
STATE OF COLORADO; STATE OF
                                              D.C. No. 1:23-cv-03026-TOR
CONNECTICUT; STATE OF
DELAWARE; STATE OF ILLINOIS;                  U.S. District Court for Eastern
ATTORNEY GENERAL OF                           Washington, Yakima
MICHIGAN; STATE OF NEVADA;
STATE OF NEW MEXICO; STATE                    TIME SCHEDULE ORDER
OF RHODE ISLAND; STATE OF
VERMONT; DISTRICT OF
COLUMBIA; STATE OF HAWAII;
STATE OF MAINE; STATE OF
MARYLAND; STATE OF
MINNESOTA; COMMONWEALTH
OF PENNSYLVANIA,

              Plaintiffs - Appellees,

  v.

 U.S. FOOD & DRUG
ADMINISTRATION; ROBERT M.
CALIFF, in his official capacity as
Commissioner of Food and Drugs;
UNITED STATES DEPARTMENT OF
HEALTH AND HUMAN SERVICES;
XAVIER BECERRA, in his official
capacity as Secretary of the Department
of Health and Human Service,

              Defendants - Appellees,
       Case: 23-35294, 05/01/2023,
Case 1:23-cv-03026-TOR             ID: 12705955,
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   v.

 STATE OF IDAHO; STATE OF
 IOWA; STATE OF MONTANA;
 STATE OF NEBRASKA; STATE OF
 SOUTH CAROLINA; STATE OF
 TEXAS; STATE OF UTAH, Proposed
 State Plaintiff-Intervenors,

               Movants - Appellants.



The parties shall meet the following time schedule.

If there were reported hearings, the parties shall designate and, if necessary, cross-
designate the transcripts pursuant to 9th Cir. R. 10-3.1. If there were no reported
hearings, the transcript deadlines do not apply.

Mon., May 8, 2023             Appellants' Mediation Questionnaire due. If your
                              registration for Appellate CM/ECF is confirmed after
                              this date, the Mediation Questionnaire is due within
                              one day of receiving the email from PACER
                              confirming your registration.
Tue., May 30, 2023            Transcript shall be ordered.
Fri., June 30, 2023           Transcript shall be filed by court reporter.
Mon., August 7, 2023          Appellants' opening brief and excerpts of record
                              shall be served and filed pursuant to FRAP 31 and
                              9th Cir. R. 31-2.1.
Thu., September 7, 2023       Appellees' answering brief and excerpts of record
                              shall be served and filed pursuant to FRAP 31 and
                              9th Cir. R. 31-2.1.

The optional appellants' reply brief shall be filed and served within 21 days of
service of the appellees' brief, pursuant to FRAP 31 and 9th Cir. R. 31-2.1.

Failure of the appellants to comply with the Time Schedule Order will result
in automatic dismissal of the appeal. See 9th Cir. R. 42-1.
       Case: 23-35294, 05/01/2023,
Case 1:23-cv-03026-TOR             ID: 12705955,
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                                              FOR THE COURT:

                                              MOLLY C. DWYER
                                              CLERK OF COURT
